                        United States Bankruptcy Court
                      for the Eastern District of Oklahoma
                                  )
      In Re                       )
      Thomas Dean                 )                               Case Number: 24-80729
      Ledbetter                   )
                                  )
       Debtor                     )                               Chapter 7
                                  )


   TRUSTEE'S OBJECTION TO DEBTOR'S CLAIMS FOR PROPERTY EXEMPTIONS

                                       BRIEF IN SUPPORT

   COMES NOW Trustee Luke Homen, duly appointed Trustee in the above-captioned case,

(“Trustee”) by and through his attorney, Hannah S. Davis of Luke Homen Law, PLLC, and

files this Objection to Debtor's Claims of Exemption. Trustee would show the following:

   1. Thomas Dean Ledbetter (“Debtor”) filed this Bankruptcy on September 19, 2024.

   2. Debtor listed the following property on Schedules A/B relevant to this Objection:

          a.   “The Silverado”

               i.   2015 Chevrolet Silverado, VIN: 3gcpcpeh2fg158485. Debtor lists the value of

               the Silverado as $7,000.00.

               ii. Debtor claims the value of the amount owned by Debtor is “$3,500.00.”

               iii. On Schedule C, Debtor claims a vehicle exemption on the Silverado under

               Okla. Tit. 31 § 1(A)(13) of 100% of fair market value, up to any applicable

               statutory limit.

            b. “The Kia”

               i.   2014 Kia RIL, VIN: knadm4a30e6364538. Debtor lists the value of the Kia as

               $6,500.00.

               ii. Debtor claims the value of the amount owned by Debtor is “$3,250.00.”



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              iii. On Schedule C, Debtor claims a vehicle exemption on the Kia under Okla.

              Tit. 31 § 1(A)(13), “exemption claimed of non-filing spouse,” of 100% of fair

              market value, up to any applicable statutory limit.

    3.   Trustee objects to the Debtor's claim of exemption on the Silverado and the Kia on the

grounds under Okla. Stat. Tit. 31 § 1(A)(13) stating, (A) Except as otherwise provided in this

title and notwithstanding subsection B of this section, the following property shall be

reserved to every person residing in the state, exempt from attachment or execution and

every other species of forced sale for the payment of debts, except as herein provided: (13)

Such person's interest, not to exceed Seven Thousand Five Hundred Dollars ($7,500.00) in

value, in one motor vehicle.

    4.   Trustee objects to Debtor's claim of exemption of the Kia because non-debtors cannot

claim bankruptcy exemptions. To clarify, Debtor's wife may not claim a bankruptcy

exemption as a “non-filing spouse.”

    5.   Debtor has claimed the vehicle exemption on two (2) vehicles. Under Okla. Stat. tit.

1(A)(13) the debtor may only exempt one (1) vehicle. Therefore, Debtor must only choose one

(1) vehicle to exempt and cannot exempt the Silverado and the Kia. Therefore, the Debtor's

claim of exemption on the Silverado and the Kia should be denied.



Respectfully Submitted,

Luke Homen Law, PLLC

By:______ /s/ Alex Sullivan
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                                  CERTIFICATE OF SERVICE

    I certify that on October 24, 2024 I electronically transmitted this Objection to Debtor's
Claims for Exemption filed on October 24, 2024, to the Clerk of the Court using the ECF
System for filing. Based on the records currently on file, the Clerk of Court will transmit the
Response and Notice of Hearing to all ECF registrants, to include the following:

Office of the AUST              Terry D. Bigby                   Thomas Dean Ledbetter
                                Attorney for Debtor              Debtor


       /s/Alex Sullivan
       Alex Sullivan
       Luke Homen Law, PLLC




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